             Case 1:12-cv-12324-MLW Document 464 Filed 11/01/18 Page 1 of 3



                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS


 SECURITIES AND EXCHANGE COMMISSION,                      )
                                                          )
                      Plaintiff,                          )
                                                          )
                 v.                                             CIVIL ACTION
                                                          )
                                                                NO. 12-12324-MLW
                                                          )
 BIOCHEMICS, INC., ET AL.,                                )
                                                          )
                      Defendants.
                                                          )
                                                          )


               ADEC’S RESPONSE TO COURT ORDER OF OCTOBER 26, 2018
                         CONCERNING RECEIVER MOTIONS

         ADEC Private Equity Investors, LLC (“ADEC”) responds to the Court’s October 26, 2018

 Order directing that, by November 1, 2018, the Securities and Exchange Commission (“SEC”) and

 ADEC “report whether they have any objection(s) to Receiver’s Motions for Orders to Employ

 Murtha Cullina LLP as Counsel for the Receiver [457], to Employ Verdo[l]ino & Lowey P.C. as

 Accountants for the Receiver [458], to Turnover [] Funds [459], and/or to Limit Notice [460], and

 if so, explain their objections.”

         ADEC assents to the Receiver’s Motions for Orders to Employ Murtha Cullina LLP as

 Counsel for the Receiver (Dkt. 457), to Employ Verdolino & Lowey, P.C. as Accountants for the

 Receiver (Dkt. 458), and to Limit Notice1 (Dkt. 460).

         ADEC does not object to the Receiver’s Motion for Turnover of Funds (Dkt. 459), but

 notes a concern about the motion. The motion relates to $437,000 held in the Court’s registry

 (“Funds”) (see Dkt. 459 at ¶ 4). The Receiver asserts, and neither BioChemics nor the SEC denies,


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          Pursuant to paragraph 5 of the Motion to Limit Notice, on October 25, 2018 undersigned
 counsel provided written notice to counsel for the Receiver requesting notice of pleadings and
 other papers filed in the above-captioned matter.
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          Case 1:12-cv-12324-MLW Document 464 Filed 11/01/18 Page 2 of 3



 that the Funds are property of BioChemics. If true, that would be exceedingly odd. The Court was

 regularly advised that the registry funds were a deposit, made by a potential purchaser, in respect

 of a future transaction. To take one example, the Court was advised that the most recent $250,000

 registry deposit was “on account of the $1 Million [of the $5 million intellectual property

 purchase price] to be paid by the time of the October 9, 2018 hearing.” October 2, 2018 Status

 Report (Dkt. 445) (emphasis added). That purchase never closed. So it is hard to understand why

 the putative buyer has not claimed ownership of those funds. Any legitimate third party would

 have done so.

         A possible explanation, of concern to ADEC, is that the funds are really property of

 Inpellis, Inc., which the other parties in the case are only too happy to see swept into the

 BioChemics estate. ADEC has never received an accounting of what happened to approximately

 $2.5 million in Noteholder funds that remained at Inpellis when BioChemics terminated Inpellis’

 IPO effort. See Dkt. 447.

         Any funds of Inpellis would be subject to the automatic stay in Inpellis’s involuntary

 bankruptcy case, and ADEC is confident that the Receiver understands the significance of that

 possibility. Accordingly, ADEC does not object to the Motion for Turnover of Funds, provided

 that, upon turnover, the Funds will be held by the Receiver and not distributed until Inpellis’s

 Chapter 7 Trustee can examine whether the Funds include, in part or in whole, assets of Inpellis.

 ADEC has received assurances from the Receiver that he will receive the Funds subject to that

 reservation, and on that basis assents to the relief.




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         Case 1:12-cv-12324-MLW Document 464 Filed 11/01/18 Page 3 of 3




                                                  ADEC Private Equity Investments, LLC

                                                  By its attorneys,


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 Dated: November 1, 2018

                                 CERTIFICATE OF SERVICE

        I, Elizabeth M. Bresnahan, hereby certify that this document filed through the ECF system

 will be sent electronically to the registered participants as identified on the Notice of Electronic

 Filing (NEF) and paper copies will be sent to those indicated as non-registered participants on

 November 1, 2018.

                                                   /s/ Elizabeth M. Bresnahan
                                                   Elizabeth M. Bresnahan




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